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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

V.                               NO. 4:22-CR-0270-5 JM

DAVID CHAD LANE                                                               DEFENDANT

                                          ORDER

       On October 4, 2022, Defendant David Chad Lane appeared with appointed counsel

KenDrell Collins for a plea and arraignment hearing. Defendant was advised of the

allegations against him and his rights. The Government, represented by Assistant United

States Attorney Chris Givens, moved for Defendant’s detention. Defendant, through

counsel, agreed to detention, without prejudice to his right to request a detention hearing

at a later date.

       Defendant is remanded to the custody of the United States Marshal for confinement

in a corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or held in custody pending appeal. Defendant must be afforded a reasonable

opportunity to consult privately with defense counsel. On order of the United States Court

or on request of an attorney for the Government, the person in charge of the corrections

facility must deliver the Defendant to the United States Marshal for a court appearance.

       IT IS SO ORDERED this 6th day of October, 2022.




                                               ____________________________________
                                               UNITED STATES MAGISTRATE JUDGE
